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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
                                                   :      Case No. 21-cr-160
             v.                                    :
                                                   :
KUEHNE ET AL.                                      :


      JOINT STATUS REPORT AS TO DEFENDANT WILLIAM CHRESTMAN’S
               TRANSPORT TO THE DISTRICT OF COLUMBIA

       On March 26, 2021, the government was informed by the U.S. Marshal’s Service that

Defendant William Chrestman has successfully been transported to the District of Columbia and

has been processed accordingly. He is now held at the D.C. Jail. Therefore, the Transport Order

signed by Chief Judge Howell on February 23, 2021 (ECF No. 15) has been fulfilled.

                                           Respectfully submitted,

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